Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 1 of 35 PageID #: 5274




                                                                 August 2, 2024


Via ECF

The Honorable Denny Chin
United States Circuit Judge
U.S. Court of Appeals for the Second Circuit
40 Foley Square
New York, NY 10007

Re:     United States v. Eric Goldstein
        21 Cr. 550 (DC)

Dear Judge Chin,

        Every day since his arrest nearly three years ago, Eric Goldstein has struggled with the
terrifying knowledge that he might be ripped from his children and imprisoned, unavailable in
their times of need and unable to provide for them in their dire financial straits. Eric’s vulnerable
family—                                                                             —has been pushed
to the brink of total ruin as a result of Eric’s arrest, trial, and conviction. Eric has lost not only an
accomplished career, but his well-earned reputation as a dedicated public servant. Having
worked tirelessly for 15 years to improve the experiences of millions of New York City public
schoolchildren, Eric has been crushed by the realization that all he will be remembered for is his
involvement in this case. That this experience might culminate in his incarceration and the
certain devastation of his family that would follow is often too much for Eric to bear.

         But Eric has persevered and not allowed himself to be overtaken by despair. Since his
trial, Eric has dedicated himself to a rigorous program of restorative justice through which he has
prioritized what matters: his family, his faith, and his commitment to self-improvement. He has
provided for his vulnerable family in its time of unprecedented need. And he has continued to
give back to his community and those in even more dire circumstances, just like he uplifted the
often underserved and overlooked children of New York City’s public schools for so long.

        In light of Eric’s fundamentally good character, the unique context of the charged offense
conduct, the severe punishment Eric continues to endure, the extraordinarily challenging
circumstances his family faces, and the disproportionate impact any period of incarceration
would have on them, we respectfully submit that a sentence of incarceration in this case would
be greater than necessary. Rather, as the law expressly provides for, we submit that a non-
carceral sentence including probation, home detention, community service, and continued
restorative justice programming—on top of the significant consequences of a felony
conviction—would be more than sufficient to satisfy the goals of section 3553(a).
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 2 of 35 PageID #: 5275

United States v. Eric Goldstein
21 Cr. 550 (DC)
I.     The Section 3553(a)(1) Factors Call for a Non-Carceral Sentence

       A.      Eric’s Admirable Personal History and Characteristics Warrant Mercy

        In considering the appropriate sentence to impose, among the first factors the Court is
instructed to consider are “the history and characteristics of the defendant.” 18 U.S.C. §
3553(a)(1). “The Guidelines virtually ignore this measure of the man, but here as elsewhere the
Guidelines must take second place to section 3553(a).” United States v. Gupta, 904 F. Supp. 2d
349, 354 (S.D.N.Y. 2012).

        Eric has led an accomplished and admirable life defined by his commitment to his family,
his friends, and the public schoolchildren of the City of New York. The numerous letters to the
Court enclosed with this submission movingly describe a man who has gone above and beyond
to support his loved ones, counsel friends in need, and uplift millions of New York City public
schoolchildren who passed through the Department of Education’s schools during his tenure.
These commendable characteristics and remarkable achievements in service of the public good
warrant mercy from the Court at sentencing. See Rita v. United States, 551 U.S. 338, 365 (2007)
(Stevens, J., concurring) (recognizing that public service goes unaccounted for under the
Guidelines arithmetic, but may be considered by a sentencing judge under section 3553(a)); see,
e.g., United States v. Adelson, 441 F. Supp. 2d 506, 513–14 (S.D.N.Y. 2006) (“[I]f ever a man is
to receive credit for the good he has done, and his immediate misconduct assessed in the context
of his overall life hitherto, it should be at the moment of his sentencing, when his very future
hangs in the balance.”). This is especially true in this case, which calls for Eric’s conduct to be
weighed against, and viewed in the context of, his long and distinguished career of public
service.

             i.       Background

       Eric Goldstein was born in New York City in 1968. (PSR ¶ 111.) His parents were both
psychologists who served the public in their practices: his father as the director of a state
psychological center and his mother as a school psychologist. (Id.) They instilled in Eric a
commitment to public service.

         Eric was raised in the Midwood section of Brooklyn and then the Fresh Meadows section
of Queens, along with his younger brother. (PSR ¶ 113.) A stand-out student and athlete, Eric
attended New York City public schools for elementary, middle, and high school. (PSR ¶ 131.)
As a student athlete who competed against better funded and supported teams from suburban and
private schools, Eric was confronted at an early age with the stark disparities in resources,
facilities, and opportunities between New York City public schools and those his more affluent
competitors attended. As Eric’s mother writes:

       Throughout his primary and secondary school education, Eric went to public
       school and was an honor student. In high school, Eric was part of the then-new to
       NYC public schools and fledgling Jamaica High School lacrosse team. As there
       were no other public school lacrosse teams in NYC they had to play against
       schools on Long Island and private schools. Eric arrived at school every day by 7



                                                2
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 3 of 35 PageID #: 5276

United States v. Eric Goldstein
21 Cr. 550 (DC)
       am to practice with the team before the school day on an unkempt dirt field
       strewn with the pebbles and the debris of urban life. 1

These memories would remain with Eric his whole life and serve as powerful motivation later on
in his professional career.

       After high school, Eric attended Cornell University, where he studied history and
graduated with honors in 1990. (PSR ¶ 130.) An inveterate history buff, after several years
working at a consulting firm and a start-up company, Eric pursued and received a master’s
degree from St. Antony’s College at Oxford University, having focused and written a thesis on
Middle Eastern foreign policy. (PSR ¶¶ 114, 120.)

        Following his time at Oxford, Eric remained in London and returned to the start-up at
which he previously worked, a software and business technology firm that was taken private
after the dot-com bubble burst in 2001. (PSR ¶ 138.) Eric continued to work in London as a full-
time consultant before he and his growing family (see infra) moved back to the United States in
2002. (PSR ¶ 137.) Eric’s former boss recalls Eric as “a model employee”:

       What is a model employee these days? Someone who would turn up on time,
       every time. Someone who would meet every deadline on time and work to an
       exacting standard. Someone who would always put the team first, even at a
       disadvantage or inconvenience to himself. Someone willing to travel coach to
       support the company. Someone who could be trusted, to the penny, when
       submitting an expense report. Someone who is intelligent and capable and who
       was always trying to better himself for benefit of his family. Eric was all of these
       things and an absolute pleasure to work with. 2

        Back in New York, Eric became acquainted with Elliot “Lee” Sander, a former New
York City Department of Transportation Commissioner and then Commissioner of the Taxi and
Limousine Commission (and future Executive Director and CEO of the Metropolitan
Transportation Authority), who identified Eric as “exceptionally bright, ambitious, and of solid
character,” and interested in public service. 3 At the time, Eric was working for The Conference
on Jewish Material Claims Against Germany (“Claims Conference”) assisting with Holocaust
survivor claims for the return of property and other losses suffered in the Shoah. Mr. Sander
recommended Eric to a former colleague who was running the “non-pedagogical activities for
the Department of Education,” namely the school food, transportation, athletics, and facilities
divisions. Eric was hired as Deputy Chief Executive Officer of the Office of School Support
Services in July 2003 and in March 2007 was promoted to the Chief Executive Officer role,
which he held (except for a brief period in 2008) until July 2018. (PSR ¶ 135.)

       As Eric’s mother writes:

1
    Ex. A, Ltr. from H. Goldstein.
2
    Ex. G, Ltr. from E. Brown.
3
    Ex. I, Ltr. from Elliott Sander.


                                                 3
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 4 of 35 PageID #: 5277

United States v. Eric Goldstein
21 Cr. 550 (DC)


       I vividly recall that he was proud to be selected for his position. He said that after
       having gone through NYC public schools and then being able to compare it with
       the experiences of others from richer or private schools, he could really work to
       improve the lives of NYC students in ways that he felt were possible, achievable
       and needed. I know that Eric devoted much of his time working for the DOE and
       put in very long hours. 4

             ii.       Career

        During his nearly 15 years at the Department of Education, Eric poured his heart and soul
into his job. His deep-seated commitment to improving the educational experiences and lives of
New York City’s public school students shines through the many letters to the Court. As one
close friend writes:

       [Eric] was passionate about his work at the Department for Education and its
       positive impact on kids’ lives. He would constantly tell me about the efforts he
       was leading to improve the level of service given to the children, many of whom
       came from poor, immigrant or difficult backgrounds. I could see the pride Eric
       took in being able to help these students every day. 5

        A former colleague describes Eric’s “long history of uplifting others whether personally
or on a large programmatic scale. His dedication to poor and underserved urban youth is
remarkable.” 6

       Another former executive from the Office of School Support writes:

       Eric was an executive dedicated to serving the children of NYC with nutritious
       food, transportation, and sports programs. At the same time, he served the
       thousands of people who worked under his leadership. He was an effective leader
       of an enormous, multi-billion-dollar organization, with agility and skill. . . . He
       navigated the relationships among various collaborating departments throughout
       the city and beyond, focusing on improving the experiences of the children in the
       public school system. 7

      Steven Simon—an accomplished diplomat and foreign service official who Eric met at
Oxford and remained close with thereafter—had experience early in his career working in New
York City municipal government. As he writes to the Court:



4
    Ex. A, Ltr. from H. Goldstein; see also Tr. 1787:1–11 (Goldstein).
5
    Ex. F, Ltr. from J. Davidson.
6
    Ex. T, Ltr. from K. Barry.
7
    Ex. U, Ltr. from G. Pitagorsky.


                                                 4
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 5 of 35 PageID #: 5278

United States v. Eric Goldstein
21 Cr. 550 (DC)
        Over my lengthy career in and out of government service, including my time
        working in two White House administrations, the State Department, the National
        Security Council, the International Institute for Strategic Studies, the RAND
        Corporation, and the Council of Foreign Relations, I have met many well-
        intentioned public servants. I consider Eric Goldstein to be one of the most
        committed to his area of public service—improving the experience of New York
        City public students . . . many of whom received nearly all of their nutrition and
        personal enrichment through the non-pedagogical programs Eric oversaw. 8

       As the letters to the Court consistently reflect, Eric wore many hats and had many
responsibilities during his time at the Department of Education, but Eric always had a particular
dedication to disabled and special needs students. Eugene Sander, an advocate for disabled
children, sums up Eric’s commitment to the children he served:

        I work closely with the Department of Education to service our disabled children.
        Often, it has fallen to me to advocate on behalf of a family whose child is not
        approved for service or is not being treated appropriately or to address a systemic
        problem plaguing these children. The unfeeling coldness of many bureaucrats
        would lead me at times to tears. So I would turn to Eric Goldstein and unfailingly
        he would listen, empathize, and find a way to be of help. Throughout the years I
        have had the pleasure of knowing him, I have witnessed him help solve countless
        crises. . . . In times of great pain for families, he went above and beyond to help
        the vulnerable. 9

                       1.     SchoolFood

       Of Eric’s many accomplishments during his time at the DOE, a few warrant special
mention. First and foremost was Eric’s commitment, as Mark Izeman of the Natural Resources
Defense Council (NRDC) writes, “to improve the quality of public school food in New York
City and around the country for underserved urban schoolchildren.” 10

        Eric’s work to improve the quality and healthfulness of the food the DOE served daily to
its nearly 1 million students was widespread and innovative. Under Eric’s leadership,
SchoolFood introduced salad bars and incorporated more local produce and dairy products, and
meals featuring minimally processed or “whole” foods, including fresh fruits and vegetables,
whole grains, nuts, and proteins—all of which was a dramatic change from the processed and
frozen food items DOE had previously relied upon. See, e.g., Tr. 1119:8–1121:3 (O’Brien).

       One of the many initiatives Eric spearheaded was for the use of antibiotic free chicken.
When one of his sons had a serious bout with antibiotic-resistant illnesses, Eric became
concerned about the overuse of antibiotics in livestock and the detrimental effect this could have

8
     Ex. H, Ltr. from S. Simon.
9
     Ex. P, Ltr. from Eugene Sander.
10
     Ex. K, Ltr. from M. Izeman.


                                                 5
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 6 of 35 PageID #: 5279

United States v. Eric Goldstein
21 Cr. 550 (DC)
on children. See Tr. 1793:21–1794:18 (Goldstein). Throughout late 2012 and early 2013, he
received detailed scientific guidance from the NRDC about the health effects of antibiotics
overuse in the food supply, learning that antibiotic resistant bacteria could form in response and
“lead to longer illnesses, more hospitalizations, use of stronger or more toxic antibiotics with
greater side effects, and even death when treatments fail.” DX 565. These warnings matched
Eric’s own frightening personal experience with his son.

        Eric thereafter worked with the NRDC and Office of School Support leadership to
determine how SchoolFood could best leverage its size and position in the market to push
suppliers to start providing antibiotic free chicken as part of their school meal offerings. See Tr.
1795:1–1801:2 (Goldstein); DX 565; DX 636. Eric’s advocacy for this initiative was a huge step
forward in raising the quality and healthfulness of public school food offerings. As the Director
of the NRDC’s New York regional programming writes:

        I first met Eric in 2012 when he served as the Chief Executive Officer of the
        Office of School Support Services at the NYC Department of Education. At our
        first meeting, Eric expressed an interest in NRDC assisting his office in providing
        more environmentally-sustainable and healthier food for the roughly 900,000
        students in NYC public schools – the largest school district in the nation. More
        specifically, he sought NRDC’s scientific and legal advice on purchasing chicken
        – one of the most served food items in the schools – raised without the use of
        antibiotics. At that time, and still today, the overuse of antibiotics in our food
        system is one of the major drivers of antibiotic resistance, which occurs when
        bacteria and other germs develop the ability to defeat the drugs designed to kill
        them. It is considered a top global public health threat. Having a committed
        partner enthusiastic about addressing this issue was a tremendous step forward for
        our efforts to mitigate this widespread public health danger. 11

        Beyond his work elevating the offerings in New York City public school cafeterias, Eric
also helped create the Urban School Food Alliance (USFA)—a consortium of the largest public
school districts in the country, which could pool the groups’ market share and influence to drive
demand for (and hopefully stimulate offerings of) healthier school food options for millions of
students nationwide. See Tr. 965:8–966:1, 1115:17–1116:1 (O’Brien). Mr. Izeman describes how:

        Eric also asked NRDC for our help in creating an alliance of the nation’s largest
        school districts – to be named the Urban School Food Alliance. Eric’s vision was
        that if the largest school districts worked together as an alliance, they could
        leverage their enormous purchasing power to not only immediately help millions
        of kids in their districts who rely on school food, but that the Alliance could also
        push the national marketplace to provide better school food that could be
        available to all school districts around the country, regardless of their size. . . .
        Through its varied initiatives, the Alliance has been able to advance significant



11
     Ex. K, Ltr. from M. Izeman.


                                                  6
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 7 of 35 PageID #: 5280

United States v. Eric Goldstein
21 Cr. 550 (DC)
           change and improve public health standards for millions of public school students
           nationwide. 12

         Mr. Izeman—who collaborated with Eric on several of the initiatives that were central to
the trial in this case—provides a glowing assessment of his years working closely with Eric:
“Eric Goldstein is a smart, honest, and caring individual who spearheaded unprecedented school
food purchasing initiatives in NYC and in other school districts around the country, which drove
marked improvements in the lives of countless public school students—many from underserved
communities.” 13

      A former colleague from the Urban School Food Alliance describes Eric’s leadership and
advocacy on an issue that might appear boring or unexceptional to outsiders, but which had
tremendous tangible benefits for the public school students Eric served:

           Eric inspired me by his vision and his belief that tasty and healthier school food
           for the millions of kids who needed it was not just possible, but doable. This was
           particularly inspiring because many, if not most, of the public schoolchildren
           served by Eric’s department or the USFA were poor or from disadvantaged
           communities, and these children received most, if not all, of their sustenance
           through meals served to them by the public schools Eric uplifted. Eric Goldstein
           dedicated his professional career to improving the lives of millions of children
           and their parents who never knew his name. 14

        The care and concern Eric showed for the public school students he served was on
particular display when it came to students with disabilities or other special needs. In one
anecdote that is representative of the personal time and energy Eric dedicated to solving even
localized problems at the individual school level, Motti Heiman (an advocate for special needs
children) describes how:

           When District 75 Sep opened bilingual classrooms to accommodate about 25
           multiple handicapped Yiddish-speaking children no thought was given to their
           religious requirements for kosher food. Despite experience with other special
           needs kosher families the NYCDOE never created a protocol for them. So aside
           from the usual tantrums, the challenge of getting these children dressed, and other
           morning challenges, parents would have to prepare meals each day to send with
           their children. We appealed to Mr. Goldstein and unlike others, he responded
           immediately. When Eric was asked to step in, he did not continue pushing the
           request under the rug. Instead, he made sure that the right divisions at DOE
           supplied the necessary food for the children, arranging kosher breakfast, lunch,
           and snacks. This took off the great burden of the parents, who would need to
           prepare and pack kosher food for their children, and the great need their children

12
     Ex. K, Ltr. from M. Izeman.
13
     Id.
14
     Ex. J, Ltr. from P. Fleischer.


                                                    7
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 8 of 35 PageID #: 5281

United States v. Eric Goldstein
21 Cr. 550 (DC)
        have before leaving off to school in the morning. After so many tries, it was Eric
        who arrived and made sure that what was necessary and appropriate was done.
        His ears were never closed and his hands never folded despite things being hard to
        carry through. 15

        Eric’s tendency to involve himself in the weeds to fix individual issues when the massive
SchoolFood bureaucracy was indifferent or sluggish was criticized at trial. But it was those very
qualities—attention to detail, impatience with lingering problems, and follow-through on issues
brought to his attention—that produced demonstrable improvements in the school food
experience for millions of New York City public school children during his tenure.

                        2.     Transportation

       Eric brought this same tenacity to the even more troublesome area of pupil transportation,
which was responsible for busing tens of thousands of students to their schools around the city.
One of Eric’s key initiatives in this area was to open to public bidding the school busing
contracts that had for decades been dominated by companies that were notoriously corrupt and,
in some instances, even affiliated with organized crime. See Tr. 1791:2–13 (Goldstein). As
someone with a deep history in New York City transportation issues, Lee Sander writes that:

        [Eric] was a force for positive change during his time at the New York City
        Department of Education (DOE). . . . He shared with me how he was confronting
        powerful and resistant political forces, especially as it related to pupil
        transportation, where with the support of Mayor Bloomberg and Schools
        Chancellor Walcott he was putting previously no-bid contracts out to the market,
        resulting in dramatic cost savings for the public. . . . These institutional hurdles to
        reform were not just in the bureaucracy. Because of allegations of mob control of
        some of the school bus operators, and my concern for Eric’s safety in trying to
        reform the system – one of the school bus owners showed up with a gun to
        negotiations – I called then Commissioner Ray Kelly of the NYPD, who I was
        working closely with post 9-11 when I was running the MTA – to keep an eye out
        for any threats that Eric might be subject to. Despite this resistance, however, I
        heard numerous positive stories about Eric’s performance at the Department of
        Education from trusted friends, particularly in the area of transportation, who
        reported that Eric initiated much positive change at the Department. 16

        An executive at the Office of Pupil Transportation confirms this assessment:

        I know working closely with him that Mr. Goldstein is a hard‐working, honest,
        and reliable person who has always shown integrity and professionalism in his
        work. I have seen this firsthand many times, especially for special education
        students who are the most vulnerable and for whom Mr. Goldstein was
        particularly motivated. I specifically recall an instance where a bus route was

15
     Ex. L, Ltr. from M. Heiman.
16
     Ex. I, Ltr. from Elliott Sander; see also PSR ¶ 116.


                                                   8
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 9 of 35 PageID #: 5282

United States v. Eric Goldstein
21 Cr. 550 (DC)
        simply not working for the parents and students on the route. While the bus
        company insisted that the route was working, we were getting too many
        complaints and one of the parents reached out to Mr. Goldstein. We were called to
        Mr. Goldstein’s office to review the specific stops on the route. Mr. Goldstein
        then directly spoke to the bus vendor, and we then spoke to the parent again. We
        split the route, changed the order of the bus stops and had the bus company add a
        bus which then solved the problem for these parents. Eric’s commitment to
        addressing problems often led him to involve himself in the details to make sure
        issues for our students were corrected. 17

       Mr. Heiman corroborates how Eric was particularly attuned to the challenges faced by
parents of special needs students and was personally committed to helping address their
concerns:

        Experience has taught me that unfortunately, too often special children’s needs
        are ignored and neglected within the New York City Department of Education
        bureaucracy. More recently transportation to and from therapy and special schools
        has been a thorny issue for these parents. Disabled children were assigned bus
        routes that ignored their specific needs, and even in an emergency, it would take
        an unconscionably long time to get any response from the busing department.
        Some hard-pressed parents were even forced to hire their own private
        transportation. It was in this capacity that I got to know the NYCDOE OPT chief
        officer, Mr. Eric Goldstein. From the very beginning, he was different. He
        displayed true concern for each student. He went above and beyond to see to it
        that every special needs child was assigned a route, timing, and pick-up that fit
        their needs. He also made sure that sensitive matrons who understood the
        children’s needs were assigned. These are not small tasks and he orchestrated it
        all to ease the demands of the overburdened parents. 18

      A particularly impacted parent recalls how Eric went above and beyond to help her
overcome a difficult transportation issue for her special needs daughter:

        I tried contacting the DOE several times, yet my concerns did not seem to concern
        their departments at all. I finally reached the CEO of food and transportation of
        the DOE - Eric Goldstein. When we complained to him, his initial response to us
        was that none of my words were wasted and that he would try with whatever
        ability he had to make our load easier for me as a parent of a special needs child
        by providing kosher meals and making sure the transportation meets the
        requirement of the state with a max of a 90-minute drive to school. His help,
        concern, and care enabled me with more strength and courage to be there to help
        my daughter succeed and gain the most out of her childhood. I was able to focus



17
     Ex. M, Ltr. from U. Frankel.
18
     Ex. L, Ltr. from M. Heiman.


                                                9
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 10 of 35 PageID #: 5283

United States v. Eric Goldstein
21 Cr. 550 (DC)
        on how I could help her develop, not being pressured to prepare the food and
        having to be prepared for the inconsistent and unexpected transportation system. 19

        Once again, while at trial Eric was faulted for immersing himself in the minutiae of the
sprawling Office of School Support’s work, those whose lives were positively impacted by
Eric’s interventions laud his efforts to this day.

                        3.         Public School Athletic League (PSAL)

        Eric’s third main area of responsibility at DOE was athletics—the realm that first opened
his eyes to the staggering disparities between the public schools he attended and the private and
suburban schools he competed against. Eric was particularly dedicated to increasing the
opportunities and offerings for public school student athletes and improving their ability to carry
their achievements through to higher education and beyond. Among other things, Eric helped
bring in outside sponsorship to increase funding for facilities, uniforms, equipment, and travel;
introduced new sports (such as cricket, badminton, Double Dutch, and girls lacrosse, wrestling,
and flag football) to diversify athletic offerings to match the changing New York City public
school population; and supported international competition, providing many students their first
opportunity to travel outside the United States and experience other cultures. See Tr. 1791:14–
1792:3 (Goldstein).

        As one PSAL administrator writes:

        Eric’s leadership was all-encompassing, driven by a profound commitment to
        improving the quality of education for every student athlete. His strategic
        vision, coupled with his tireless advocacy for equity and excellence, set a new
        standard for athletic programs across the city. Under his guidance, the PSAL
        flourished, empowering students to reach their full potential and fostering a
        culture of inclusivity and achievement. Under his leadership, high school
        sports in New York City took on a new dimension, simultaneously growing in
        size and quality. 20

        The investor and entrepreneur Mike Novogratz, who sponsored a wrestling program for
talented, at-risk, and underserved student athletes named Beat the Streets, writes about Eric’s
commitment:

        I believe that Eric’s ability to connect with our program and students was because,
        having attended Jamaica High School himself, he understood exactly what it is
        like for New York City students to be athletically disadvantaged compared to
        their suburban and rural peers. He was focused on ensuring New York City
        students have equal opportunity to succeed in athletics. . . . Eric made a
        tremendous difference to many students in NYC. If I hear any girls talking about


19
     Ex. N, Ltr. from C. Hirsch.
20
     Ex. R, Ltr. from T. Parker.


                                                   10
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 11 of 35 PageID #: 5284

United States v. Eric Goldstein
21 Cr. 550 (DC)
        wrestling or see them carrying a lacrosse stick or any boys talking about cricket or
        badminton, I know I have Eric to thank. 21

       A former colleague who worked closely with Eric on student athletics sums up who Eric
was as reflected in what Eric did for the millions of students who passed through DOE schools
during his tenure:

        Eric cared deeply about making sure that every student who wanted the
        opportunity to wrestle could have it. . . . He understood the limitations of a high
        caliber athlete matriculating from New York City to our top national collegiate
        sports programs, but also how important it was to use sports to provide these kids
        the opportunity for higher education and achievement they might not otherwise
        have access to. Eric didn’t sit behind his desk, but showed up where the kids were
        again and again. 22

             iii.       Family

        Eric’s impressive commitment to New York City’s public schoolchildren has been
outmatched only by his dedication to his family. Eric has always been a loving, committed son
and brother to his immediate family. As his brother writes, Eric’s “reliability knows no bounds –
I have always been able to lean on him, not only for practical matters but also for his unwavering
emotional support and sagacious guidance.” 23 Sadly, Eric’s father has suffered from
         in his later years (PSR ¶ 111), but despite the physical distance between them and his
own struggles, “Eric remains steadfast” in helping his parents in whatever way he can. As his
brother writes, “He consistently shows up, cherishing the moments he can spend with our father,
including our tradition of attending baseball games. These shared experiences hold profound
significance as we navigate these unprecedented times, acutely aware of their fleeting nature.” 24

       While Eric was a student at Oxford in the early 1990s, he met his future wife, Jolanta,
who had come to London from her native Poland to study as well. The couple were married in
1994 and remained in London until 2002, when they returned to the United States. (PSR ¶¶ 114,
118.) They had their first son,    in 2002, in trying circumstances. As Eric’s mother recalls:

        While they were living in England, with his wife seven months pregnant, Eric and
        his wife had to briefly return to the US for visa reasons. While they were staying
        at our house, Eric’s wife developed an emergency medical condition that then
        required her to be hospitalized for two straight months to see if the baby could be
        saved. All the time she was in the hospital, Eric spent those two months sleeping



21
     Ex. S, Ltr. from M. Novogratz.
22
     Ex. T, Ltr. from K. Barry.
23
     Ex. B, Ltr. from Jason Goldstein.
24
     Ex. B, Ltr. from Jason Goldstein.


                                                11
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 12 of 35 PageID #: 5285

United States v. Eric Goldstein
21 Cr. 550 (DC)
        on a chair in the same room with his wife. It was only with God’s grace that their
        son, my grandson, was eventually born. 25

       In 2004, Eric and Jolanta’s second son,       was born. The family moved to Westchester
County and was a close-knit, integral part of the community. As Eric’s friend and former
colleague Moshe Becker writes:

        I worked as a Rabbi in the local community and Eric inquired about further
        opportunities to meaningfully engage with his faith. I subsequently met his wife at
        the time and their sons, all of whom would come to routinely attend Jewish
        community events, worship, and learning opportunities. Eventually serving on the
        board of the Westchester Jewish Day School, Eric always sought opportunities to
        help; his presence at any meeting or event was, without fail, noteworthy and
        highly valued. 26

        Sadly, while Eric was achieving great things at the Department of Education, his home
life was deteriorating. Eric and Jolanta drifted apart and their marriage suffered. (PSR ¶ 118.) On
top of these stresses,




        These years were particularly harrowing for the family,                               just
as Eric and Jolanta’s marriage was breaking apart. As Jolanta writes:




                       27



25
     Ex. A, Ltr. from H. Goldstein.
26
     Ex. E, Ltr. from M. Becker.
27
     Ex. C, Ltr. from Jolanta Goldstein.


                                                12
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 13 of 35 PageID #: 5286

United States v. Eric Goldstein
21 Cr. 550 (DC)


                                                              caused enormous stress, pain, and
heartbreak for Eric as he struggled                 . Eric’s mother recalls that:




                 28



           Eric’s mother describes




                                                                             29



           Eric’s brother recounts how Eric has stepped up countless times




28
     Ex. A, Ltr. from H. Goldstein.
29
     Id.


                                                  13
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 14 of 35 PageID #: 5287

United States v. Eric Goldstein
21 Cr. 550 (DC)




       Eric has embraced the challenge                                     and has been a source
of advice, guidance, and comfort for others in similar situations. Lee Sander writes how:




                                        31



        A close family friend similarly describes how




                                                      32



              iv.       Eric’s Harrowing Post-DOE Life

         In 2018, Eric lost his job at the Department of Education and the last vestige of stability
in his life. (PSR ¶ 135.) The next several years—culminating in his arrest and trial in this


30
     Ex. B, Ltr. from Jason Goldstein.
31
     Ex. I, Ltr. from Elliott Sander.
32
     Ex. W, Ltr. from L. Montes.


                                                 14
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 15 of 35 PageID #: 5288

United States v. Eric Goldstein
21 Cr. 550 (DC)
matter—have seen an escalating series of disasters that have brought Eric and his family to the
brink of total ruin. As Mr. Becker describes:

        Sadly, Eric’s life can only be described as having unraveled over the past several
        years. He has lost his prestigious job, his marriage, many friends, and, to a large
        extent, much of the respect and dignity he deserves. And although Eric is the last
        person to feel sorry for himself or occupy the role of victim, he has struggled
        mightily in recent years. Even absent the present case, he has dealt with more than
        many would be able to handle. 33

        After years of legal wrangling in the couple’s highly contentious divorce, around the time
Eric lost his job at the DOE, he was awarded custody of        Eric needed to move with his son
into the home of his parents, where he organized and supervised
                                                          Eric’s mother writes:

        Eric was and is very close to his son and in 2018 was awarded custody. They both
        came to live at our crowded house in Port Washington where both of them slept
        on the couch together even through Eric’s firing from the DOE that September.
        During that time, I saw firsthand Eric’s care for his son.
                                           Eric made sure that he attended all his tutoring
        sessions at the local library and spent hours playing basketball and football with
        him when the weather permitted.

        Eric then entered a period I would describe as temporary homelessness. Due to his
        unfortunate circumstances, he had to live in a friend’s guesthouse in Connecticut
        and then, for almost two years until the end of the pandemic, lived in three
        separate hotels with his son in upstate New York. It was an extremely challenging
        time for everyone, and unimaginably difficult for Eric. But Eric cared for his son
        in a manner that was exemplary and demonstrated what true dedication to family
        means. 34

        Following his well-publicized arrest in this case, the beef importing business that Eric
had tried to build in the years after he left the DOE collapsed, causing further financial
devastation for Eric and his family. (PSR ¶ 134.) Then, just when things felt like they couldn’t
get worse,                                                                        . (PSR ¶ 118.)
                                                                                              As
Eric’s close friend writes:

        Eric’s arrest further pushed the family into turmoil. . . .
                           has brought the whole family to the verge of the abyss. That this awful




33
     Ex. E, Ltr. from M. Becker.
34
     Ex. A, Ltr. from H. Goldstein; see also PSR ¶ 114.


                                                   15
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 16 of 35 PageID #: 5289

United States v. Eric Goldstein
21 Cr. 550 (DC)
        turn of events took place shortly before Eric’s trial was a severe blow to everyone.
        It is difficult to imagine a crueler circumstance. 35

       With                                Eric only able to find work as a self-employed food
salesman (PSR ¶ 133),



                               In the face of this adversity for his family, however, Eric again
showed his true character. Despite the years of acrimony and tension with his ex-wife, and
despite his own federal criminal indictment and looming trial, Eric took on additional
responsibilities to help his family survive. He redoubled his commitment to his sons, fulfilling
many of the roles                                                    . Eric’s brother describes how:

                                                                           Eric plays an
        important role in his younger son’s life. As an example, Eric moved him in and
        out of college and went back when he had to switch dorm rooms early in the
        semester. Eric also takes his younger son to see his ailing grandfather and
        grandmother and visit me and the rest of his family in Florida, which is critical to
        do in a broken family setting. 36

        Eric has also




        Eric’s potential incarceration would be a sentence not only given to him, but also
        to our family that, as it is, barely keeps up with the harsh realities of life that have
        been dealt to us. . . .




35
     Ex. H, Ltr. from S. Simon.
36
     Ex. B, Ltr. from Jason Goldstein.


                                                   16
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 17 of 35 PageID #: 5290

United States v. Eric Goldstein
21 Cr. 550 (DC)

                                                                        37



        Eric’s brother echoes these fears. Having witnessed
                                                     his brother is terrified of what might happen
if Eric were to be incarcerated:




                                                                                    osing
                                                                   38
        Eric would be nothing short of a catastrophe for us all.

        B.      The Nature and Circumstances of the Offense
                Warrant a Non-Carceral Sentence

         The Court must also take into account “the nature and circumstances of the offense.” 18
U.S.C. § 3553(a)(1). While we acknowledge the jury’s verdict and the Court’s decision to uphold
it, and accept them for purposes of this submission, we believe it is important for the Court to
recall the unique aspects of the offenses of conviction in determining the appropriate sentence.

        The government’s case turned on four purported actions Eric took to benefit Somma. The
evidence at trial established that Eric either had no involvement in SchoolFood’s decisions or
that each of his actions was justified on the merits and that he would have taken the very same
steps regardless of whether he received any benefit from Somma—because these actions were
the right thing to do in his mind.

         First, the government claimed that Eric improperly moved up the dates for the initial
service of Somma’s yogurt parfait and chicken drumsticks in exchange for Somma’s $20,000
transfer to RMSCO. But as was made abundantly clear at trial, it was Mr. O’Brien who initially
moved the parfait debut date to December 17, 2015, see DX 328, and when that date appeared as
if it might slip, Eric wanted to maintain it because of the important Local Thursday event that
Eric’s office had scheduled with the Chancellor of the Department of Education, the New York
State Agriculture Commissioner, and the American Dairy Association to promote products with
ties to New York State suppliers. See Tr. 1882:4–1884:24 (Goldstein); DX 358; DX 667; DX
670; DX 672. Eric expedited non-Somma items for the same event. See DX 576. The Court
appreciated these facts at trial. See Tr. 1375:23–1376:3 (THE COURT: “Fast tracking the parfait,
the record to me seems to me to indicate that DOE wanted this done as much as Somma, perhaps
more so. You know, there was this December 17th rollout with the chancellor, et cetera, and
there was enormous pressure to get it done. I don’t see that Mr. Goldstein was leaning on DOE to

37
     Ex. C, Ltr. from Jolanta Goldstein.
38
     Ex. B, Ltr. from Jason Goldstein.


                                                 17
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 18 of 35 PageID #: 5291

United States v. Eric Goldstein
21 Cr. 550 (DC)
get this done faster for Somma.”). There was no documentary evidence that Eric had any
involvement in SchoolFood’s request to Somma to provide the chicken drumstick starting in
December 2015.

        Second, the government alleged that Eric directed that Somma’s chicken drumsticks were
to be served twice a month. But the evidence the government presented demonstrated, instead,
that after Eric forwarded an email from Mr. Turley regarding the frequency of menuing the
chicken drumsticks (and commenting “If doable, we should do.”), Mr. O’Brien responded that
SchoolFood had already, independently decided to schedule the drumsticks twice a month. See
GX332 (“The drumsticks are already planned to be on 2 times in January.” (emphasis added)).

        Third, the government argued that Eric blocked SchoolFood’s imposition of liquidated
damages on Somma when it did not fulfill a chicken drumstick order in early 2016, in exchange
for a nebulous “reminder” of the potential business opportunity that existed in RMSCO. But as
Eric correctly testified and the documentary evidence confirmed, SchoolFood did not have the
authority to impose liquidated damages on an approved brand like Somma that did not have a
direct contract with the DOE. See Tr. 1930:12–25 (Goldstein). Moreover, as Eric testified and
the contemporaneous documents reflect, 39 DOE could not impose liquidated damages on
distributors when—as in this instance—the distributors substituted another approved item for
one that was not fully provided by a supplier. See Tr. 1931:1–11 (Goldstein); see also Tr. 723:3–
5 (Debra Ascher testifying that the distributors argued the same); DX 553. The Court also
appreciated this point during trial. See Tr. 1376:20–24 (THE COURT: “First of all, it does
appear to me that fines were not called for. I mean there were - - an approved substitute was put
into place. And there are e-mails that the distributors were saying this has never happened before
when there were approved products substituted.”).

        Fourth, the government alleged that Eric improperly lifted the second hold that
SchoolFood had placed on serving Somma’s chicken tenders after foreign matter was found in
these items. But the trial evidence reflected that senior SchoolFood leadership, including Mr.
Barrett and Mr. O’Brien, had advocated that Eric take this step and by a date certain so that
Somma could restart its supply chain to provide the items in time to serve them on the January
2017 menu. See GX 602; GX 605. Indeed, in its decision on the defense’s post-trial motions, the
Court noted, even while construing the evidence in the light most favorable to the government,
that “SchoolFood senior staff apparently did agree with SOMMA’s proposal.” Doc. 181 at 36.

       Constrained by the evidence that each of Eric’s purported official actions was justified on
the merits, the government in its summations instead argued that this fact didn’t matter. See, e.g.,
Tr. 2247:22–24 (“[I]t simply does not matter whether the actions he took were good or bad, right
or wrong.”). The government repeated multiple times in its closings that it was irrelevant that
Eric would have made the same decision regardless of receiving any benefit. See, e.g., Tr.
2247:25–2248:4 (“It doesn’t matter if Goldstein . . . would have taken the same act anyway.”).

39
     Although the Court did not receive this material into evidence, DOE documents from as far
     back as 2011 also corroborated that Eric understood that the point of liquidated damages was
     to ensure that violations were cured, not to punish for late delivery of food, and that
     liquidated damages could be waived by DOE. See DX 1 (not admitted).


                                                18
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 19 of 35 PageID #: 5292

United States v. Eric Goldstein
21 Cr. 550 (DC)
While those assertions might have been an accurate statement of the law as the Court determined
it for purposes of finding guilt or innocence, they fail to account for the specific context of Eric’s
actions and the highly mitigating fact that he was, in each instance, acting in conformity with the
rules, his responsibilities, and his long-held beliefs about what was best for SchoolFood and the
children it served. That reality sets this case apart from other corruption cases. Eric’s conduct,
even if the Court deems it ran afoul of the law, was far less culpable than conduct that involves
unwarranted or improper governmental actions that are against the interests of constituents.

II.    The Sentencing Guidelines Range in the PSR Should Be Disregarded

        While the Court is required to calculate and consider the advisory Sentencing Guidelines
range in formulating the appropriate sentence in each case, the Guidelines calculation included in
Eric’s PSR is deeply flawed and should be rejected by the Court. As set forth in more detail in
the joint defense submission regarding common Sentencing Guidelines issues, which Mr.
Goldstein joins in full, the Probation Department’s proposed inclusion of offense level
enhancements under U.S.S.G. §§ 2C1.1(b)(1), 2C1.1(b)(2), and 3C1.1 are not supported by the
law, the Guidelines provisions, or the trial record. See Doc. 201.

        In addition, because Mr. Goldstein was not a “public official in a high-level, decision-
making position” for purposes of the Guidelines, the Probation Department’s proposed offense
level enhancement pursuant to U.S.S.G. § 2C1.1(b)(3) should be denied. The Court should
disregard and accord no deference to the draconian Sentencing Guidelines calculation of 78–97
months’ incarceration in Eric’s PSR. (PSR ¶ 149.)

        Properly applying the Sentencing Guidelines to the facts of this case under the law of this
Circuit, the advisory Guidelines range applicable to Eric is as follows:

       1. Base Offense Level: 14 (U.S.S.G. § 2C1.1(a)(1))
       2. Specific Offense Level Characteristics: +2 (Abuse of Position of Trust, U.S.S.G. §
          3B1.3)
       3. Chapter Four Adjustment: -2 (Zero-Point Offender, U.S.S.G. § 4C1.1(a))
       4. Total Offense Level: 14
       5. Criminal History Category: I (0 points)
       6. Guidelines Range: 15–21 months’ imprisonment

       Regardless of the Guidelines calculation, the facts of this case call for a downward
departure or substantial downward variance. This is because the Guidelines range dramatically
overstates the seriousness of the offense and because the unique circumstances here are not
adequately captured by the Guidelines’ mechanical calculations. While the Court need not find
“extraordinary” circumstances in order to impose a below-Guidelines sentence, United States v.
Cavera, 550 F.3d 180, 190 (2d Cir. 2008) (en banc), such circumstances are present in this case.

       A.      Eric Was Not A “High-Level Decisionmaker” for Purposes of U.S.S.G. § 2C1.1

       The Court should not apply the Probation Department’s proposed four-level enhancement
pursuant to U.S.S.G. § 2C1.1(b)(3), which is applicable only to “elected public official[s]” and



                                                 19
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 20 of 35 PageID #: 5293

United States v. Eric Goldstein
21 Cr. 550 (DC)
“public official[s] in a high-level decision-making or sensitive position.” The government bears
the burden of proving the facts necessary to support the imposition of a sentencing enhancement
under the Guidelines by a preponderance of the evidence. See United States v. Archer, 671 F.3d
149, 161 (2d Cir. 2011). It has not carried its burden with respect to this enhancement.

        Contrary to the PSR’s assertions, Eric was not “the ultimate decision maker with respect
to the purchase of food for NYC public school children,” such that this enhancement should
apply. (PSR ¶ 26.) As explained in detail at trial, SchoolFood procured food products through an
approved brand process that entailed multiple steps and bureaucratic procedures including: (1)
solicitations to hundreds of vendors (“outreaches”); (2) written vendor submissions designed to
ensure the product satisfied nutritional requirements; and (3) taste tests. See, e.g., Tr. 1028:9–
1029:10 (O’Brien); Tr. 409:6–410:8 (Davis). Once a product met SchoolFood’s requirements
and received its approval, the Division of Contracts and Purchasing (“DCP”), which was
responsible for approving pricing, had to independently approve the product’s pricing. See, e.g.,
Tr. 409:15–21 (Davis); Tr. 759:20–760:11 (Ascher); Tr. 1029:11–18 (O’Brien). Eric did not
have supervisory authority over DCP. See, e.g., Tr. 410:7–8 (Davis). Distributors, who had
contracts to supply food to New York City’s public schools, could purchase approved products
and supply those products to the schools. See, e.g., Tr. 714:20–716:17 (Ascher). Given these
multiple bureaucratic processes that needed to be completed and independent approvals that
needed to be secured before any food was purchased for SchoolFood, Eric could not personally
decide to have an item purchased by SchoolFood. See Tr. 1823:23–25 (Goldstein). Nor could he
override a decision by DCP to reject an item on price grounds. See Tr. 1824:13–15 (Goldstein).
For these reasons, Eric was not “a public official in a high-level, decision-making position” such
that U.S.S.G. § 2C1.1(b)(3) applies. See, e.g., United States v. Stephenson, 895 F.2d 867, 877–78
(2d Cir. 1990).

        Rather, as the trial record established, Eric held a position of “public trust,” as defined by
the Guidelines as one “characterized by professional or managerial discretion (i.e., substantial
discretionary judgment that is ordinarily given considerable deference).” U.S.S.G. §3B1.3 &
Application Note 1. While Eric could weigh in on SchoolFood processes, voice his opinions, set
policies and priorities, and focus or draw attention to individual problems—i.e., he could
exercise managerial discretion that was accorded considerable deference—he could not
unilaterally make decisions on behalf of SchoolFood.

        Under the Sentencing Guidelines, a defendant cannot receive an enhancement under both
sections 2C1.1(b)(3) and 3B1.3. See U.S.S.G. § 2C1.1, Application Note 6. Although subtle, the
distinction between these different enhancements can be seen in the Second Circuit’s decision in
Stephenson, in which “the Government argue[d] that Stephenson’s position affected national
security and involved significant supervisory duties as it required him to evaluate applications
for licenses to export high-technology equipment to the Soviet Union and China, among other
countries.” 895 F.2d at 877–78. The Second Circuit, however, agreed with the district court that
Stephenson did not qualify for the version of the “high-level decision-making” enhancement
applicable at the time because it found that this provision should apply only to “officials sitting
in high positions of public trust.” Id. (emphasis added). Mr. Stephenson’s duties—like Mr.
Goldstein’s—were important and “involved some degree of discretion,” id., but not the high-
level decision-making power required for U.S.S.G. § 2C1.1(b)(3) to apply. Cf. United States v.



                                                  20
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 21 of 35 PageID #: 5294

United States v. Eric Goldstein
21 Cr. 550 (DC)
Madrid, 610 F. App’x 359, 364–65, 388–89 (5th Cir. 2015) (per curiam) (affirming application
of “position of public trust” enhancement under section 3B1.3 to defendant convicted of bribery
and honest services mail fraud offenses who was a member of county executive’s “governance
team” that “functioned in a similar manner as a board of directors” overseeing the management
of federal grant money).

        B.      The PSR’s Guidelines Range Overstates the Seriousness of the Offense

        To the extent the Court applies any enhancement pursuant to the “loss table” at U.S.S.G §
2B1.1, we respectfully submit that the Court should downwardly depart or vary from the
resulting Guidelines range because any further inflation of Eric’s offense level “substantially
overstates the seriousness of the offense.” U.S.S.G. § 2B1.1, Application Note 21(C).

        This is because, in addition to the unique factual circumstances around the charged
conduct, see supra at 17–19, any offense level enhancements resulting from section 2B1.1 would
be the product of a Guideline that is not based on empirical evidence, does not reflect the
sentencing factors under section 3553(a), and “fails to measure a host of other factors that may
be important, and may be a basis for mitigating punishment, in a particular case.” 40

        Many judges in this Circuit have lambasted the “utterly ridiculous” loss Guideline
because it is “heavily weighted toward increasing the number of enhancement points” as the loss
amount increases—“a fact that has been criticized on more than one occasion by this and other
courts.” United States v. Black, 16 Cr. 370 (CM) (S.D.N.Y. Oct. 24, 2019) (McMahon, J.), Doc.
457 at 56:5–16. These courts have strongly criticized the Guidelines’ loss enhancement as a
measure of the seriousness of an offense and have echoed the “widespread perception that the
loss guideline is broken.” United States v. Corsey, 723 F.3d 366, 378 (2d Cir. 2013) (Underhill,
J. concurring); see also, e.g., United States v. Emmenegger, 329 F. Supp. 2d 416, 427 (S.D.N.Y.
2004) (Lynch, J.) (condemning the “excessive weight on [the loss] factor” and noting that loss is
a “relatively weak indicator of the moral seriousness of the offense or the need for deterrence”);
United States v. Johnson, 16 Cr. 457 (NGG), 2018 WL 1997975, at *3 (E.D.N.Y. Apr. 27, 2018)
(Garaufis, J.) (“[T]he Sentencing Commission’s loss-enhancement numbers do not result from
any reasoned determination of how the punishment can best fit the crime, nor any approximation
of the moral seriousness of the crime.”); United States v. Ovid, 09 Cr. 216 (JG), 2010 WL
3940724, at *8 (E.D.N.Y. Oct. 1, 2010) (Gleeson, J.) (criticizing “the illusion of precise
calculation created by the ever-expanding fraud guideline”); United States v. Parris, 573 F.
Supp. 2d 744, 754 (E.D.N.Y. 2008) (Block, J.) (A “black stain on common sense.”)

        The Guidelines’ loss enhancement was developed “without the benefit of empirical study
of actual fraud sentences by the Sentencing Commission.” Corsey, 723 F.3d at 380. Because the
Commission failed to rely on empirical data or national experience in promulgating and
amending section 2B1.1, this Court is free to conclude that the application of this guideline
“yields a sentence greater than necessary to achieve § 3553(a)’s purposes.” Kimbrough v. United
States, 552 U.S. 85, 109–10 (2007). Sentencing judges faced with Guidelines ranges inflated by

40
     A. Ellis et al., At a “Loss” for Justice: Federal Sentencing for Economic Offenses, 25 CRIM.
     JUST. 34, 37 (2011).


                                                21
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 22 of 35 PageID #: 5295

United States v. Eric Goldstein
21 Cr. 550 (DC)
loss enhancements can correct for the inherent overstatement of culpability by focusing less on
the Guidelines range and more on the section 3553(a) factors. Corsey, 723 F.3d at 380.

        In light of the widespread criticism that the Guidelines approach to “loss” has received
from courts, practitioners, academics, and experts, an American Bar Association task force
(which included among its members Judges Lynch and Rakoff, and former Judge Gleeson)
proposed amendments that would focus less on “loss” and more on “culpability.” 41 The task
force’s report drew particular attention to sentences for first-time, non-violent offenders and
recommended an approach more faithful to the Sentencing Commission’s enabling legislation,
whereby “[i]f the defendant has zero criminal history points under Chapter 4 and the offense was
not ‘otherwise serious’ within the meaning of 28 U.S.C. § 994(j), the offense level shall be no
greater than 10 and a sentence other than imprisonment is generally appropriate.” 42 See also
United States v. Leitch, 11 Cr. 609 (JG), 2013 WL 753445, at *1 (E.D.N.Y. Feb. 28, 2013)
(noting that the Commission was “was supposed to ensure ‘the general appropriateness’ of
probationary sentences for first-time offenders unless they commit ‘crime[s] of violence or . . .
otherwise serious offense[s].’ Instead, it unilaterally declared in 1987 that every theft, tax
evasion, antitrust, insider trading, fraud, and embezzlement case is ‘otherwise serious,’ and thus
no more eligible for a sentence of probation, even when committed by a first-time offender, than
would a crime of violence”).

        Eric’s case is a prime example of the “utter ridiculousness” of the loss enhancements.
The Probation Department’s proposal that the offense level here be increased by 8 levels is
entirely divorced from the facts and circumstances of the offenses of conviction (as described in
the defense’s joint submission and supra) and wholly unrelated to the section 3553(a) factors.

         C.      Eric and His Family’s Extraordinarily Challenging
                 Personal Circumstances Merit a Downward Departure

       U.S.S.G. § 5K2.0(a)(4) broadly permits a departure where there are characteristics of the
defendant or other circumstances that are not adequately captured by the applicable Guidelines
range. While in the pre-Booker sentencing regime, the Guidelines disfavored departures based on
family circumstances except in “extraordinary circumstances,” United States v. Smith, 331 F.3d
292, 294 (2d Cir. 2003), even under this mandatory regime, the Second Circuit affirmed a
number of downward departures that the trial court found had met this stringent threshold:

         We have found family circumstances to be extraordinary, and hence a permissible
         basis for departure, where the defendant provided substantial support for two
         children, his wife spoke limited English and had a limited earning capacity, and
         his elderly parents were likely to require both physical and financial assistance in

41
     Am. Bar Ass’n, Criminal Justice Section, “A Report on Behalf of The American Bar
     Association Criminal Justice Section Task Force on The Reform of Federal Sentencing for
     Economic Crimes” (Nov. 10, 2014),
     https://www.americanbar.org/content/dam/aba/publications/criminaljustice/economic_crimes.
     pdf.
42
     Id. at 2.


                                                 22
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 23 of 35 PageID #: 5296

United States v. Eric Goldstein
21 Cr. 550 (DC)
       the near future, see United States v. Galante, 111 F.3d 1029, 1035 (2d Cir. 1997);
       where the defendant was the sole support of several young children, one of whom
       was an infant, see United States v. Johnson, 964 F.2d 124, 129–30 (2d Cir. 1992);
       and where the defendant supported his wife, two children, his paternal
       grandmother, and his disabled father who depended also on the defendant’s
       physical strength to help him get in and out of his wheelchair, see United States v.
       Alba, 933 F.2d 1117, 1122 (2d Cir. 1991).

United States v. Cutler, 520 F.3d 136, 164 (2d Cir. 2008).

        Eric’s uniquely challenging family circumstances fall squarely within the bounds of what
the Circuit has recognized as meriting a downward departure. As described above, in the PSR,
and in the letters of support,




           Such collective punishment would be unwarranted and disproportionate, particularly
given the circumstances of Eric’s offense conduct.




                                                                                     Given these
factors, the Probation Department has agreed that a departure may be warranted in this case.
(PSR ¶ 166.)

        Moreover, since Booker was decided, courts have even greater discretion to consider the
impact a sentence may have on a defendant’s family and dependents. See, e.g., United States v.
Weisberg, 07 Cr. 66 (HBS), 2010 WL 3944964, at *10 (W.D.N.Y. 2010) (“Since the Guidelines
are just that, advisory guidelines, this Court may consider the impact of this sentence on
defendant’s family members.”). For the same reasons that the Court should impose a downward
departure in this case, we respectfully submit that Eric’s family circumstances and the
devastating effect a period of incarceration would have                                    in
particular weigh heavily in favor of a significant downward variance under section 3553(a).

III.   Incarceration Would Not Advance the Goals of Section 3553(a)(2)

        “A sentencing judge has very wide latitude to decide the proper degree of punishment for
an individual offender and a particular crime.” Cavera, 550 F.3d at 188. In exercising this
discretion, the Court takes as its “lodestar the parsimony clause of 18 U.S.C. § 3553(a),” which


                                               23
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 24 of 35 PageID #: 5297

United States v. Eric Goldstein
21 Cr. 550 (DC)
requires the Court to “‘impose a sentence sufficient, but not greater than necessary, to comply
with’ the factors set out in 18 U.S.C. § 3553(a)(2)”: “proportionality, deterrence, incapacitation,
and rehabilitation.” United States v. Douglas, 713 F.3d 694, 700 (2d Cir. 2013) (quoting United
States v. Dorvee, 616 F.3d 174, 183 (2d Cir. 2010)). In making this assessment, the Court must
“consider every convicted person as an individual,” and its sentence must “fit the offender and
not merely the crime.” Pepper v. United States, 562 U.S. 476, 487–88 (2011) (citations omitted).

        Here, particularly in light of Eric’s admirable personal history and characteristics, and the
significant punishment and collateral consequences he has already received, a period of
incarceration would not further advance the goals of section 3553(a)(2). Rather, a period of
incarceration for this individual, in this case, would be greater than necessary.

        A.      Probation, Home Detention, Community Service, and the Collateral
                Consequences of Public Trial and Felony Conviction Reflect the Seriousness of
                the Offense, Promote Respect for the Law, and Provide Just Punishment

         As described in the PSR, the letters to the Court, and above, Eric has already been
subjected to extensive and wide-ranging punishment as a result of his widely publicized arrest,
trial, and conviction in this matter. Eric has been humiliated and villainized in the public
consciousness, despite having done so much to benefit the public schoolchildren of New York
for more than 15 years. Despite living an otherwise exemplary life, Eric will forever be
connected with this case—and the false portrayal of him by the media that resulted 43—on top of
the legal disabilities of having a felony conviction. The public vitriol against Eric has included
blatant antisemitism. 44

43
     See, e.g., C. Moynihan, “School Official Convicted After Students Ate Chicken With Bits of
     Metal,” N.Y. Times (June 28, 2023) (reporting that “Eric Goldstein, who oversaw the feeding
     of New York schoolchildren, took bribes to allow food with bits of bone and plastic in
     cafeterias” and prominently featuring a picture of Mr. Goldstein),
     https://www.nytimes.com/2023/06/28/nyregion/eric-goldstein-somma-chicken.html; P.
     DeGregory, “Ex-DOE exec convicted of taking bribes, turning blind eye to tainted chicken
     tenders served to NYC public school kids,” N.Y. Post (June 28, 2023),
     https://nypost.com/2023/06/28/ex-doe-exec-convicted-in-schools-food-bribery-scheme/; J.
     Marcus, “New York official was bribed and let chicken contaminated with metal be served in
     school lunches, jury finds,” The Independent (June 30, 2023), https://www.the-
     independent.com/news/world/americas/crime/new-york-eric-goldstein-convicted-
     b2366904.html.
44
     See, e.g., Top Comment on New York Post article, supra (“Read only the headline and
     KNEW it had to be a -berg, -stein, or -witz. It’s not ‘government corruption’. It’s typical
     TRIBE corruption. This society is not theirs, and they don’t care how much damage they do
     to it if there’s money in it for them.”); Comment on M. Koening, “Ousted NYC education
     chief dubbed ‘Roger Rabbit’ is convicted in bribery scheme after accepting $80,000 from
     food company that served schoolchildren chicken that oozed blood and contained METAL,”
     Daily Mail (June 28, 2023) (“They seem to always be involved in swindling.”),
     https://www.dailymail.co.uk/news/article-12244575/Fired-NYC-education-chief-dubbed-
     Roger-Rabbit-beams-abattoir-food-company-conspirator.html.


                                                 24
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 25 of 35 PageID #: 5298

United States v. Eric Goldstein
21 Cr. 550 (DC)


         Moreover, as recounted above and in the letters of support, for the past nearly three years,
Eric has lived every day with the terror of possibly being incarcerated and ripped from the family
that relies on him. The thought of being incarcerated and unavailable to come to the aid of his
son or family has been an agonizing punishment that Eric has struggled with daily.

         As Eric’s close friend writes in his letter to the Court:

         Eric has already been punished by his loss in position, status, and honor,
         especially in the eyes of his sons. The public press after the jury verdict was
         worldwide and—having sat through the trial, I can say confidently—wildly
         inaccurate. Eric Goldstein was portrayed as a heartless monster who endangered
         the children that he had, in fact, served ably for more than a decade. He will
         never be able to un-ring that bell in the public consciousness, no matter how
         inaccurate it might be. 45

        Another close friend concurs that this public humiliation of Eric has been its own intense
punishment: “Eric and his family have been devastated already by the mere existence of this
case, let alone the trial, flood of publicity, and shame of the verdict. I have seen how pained Eric
has been by this experience.” 46

         We respectfully ask the Court to consider both the direct consequences of Eric’s felony
conviction, as well as the collateral consequences of his widely publicized (and overly
sensationalized) arrest, public trial, and conviction. Courts in this Circuit regularly find that such
consequences are meaningful punishments that lessen the need for imprisonment. See, e.g.,
United States v. Stewart, 590 F.3d 93, 141 (2d Cir. 2009) (approving district court’s finding that
“the need for further deterrence and protection of the public is lessened because the conviction
itself already visits substantial punishment on the defendant” (quotations omitted)); United States
v. Schulman, 16 Cr. 442 (JMA) (E.D.N.Y. Oct. 6, 2017), Doc. 155 at 39:4–11 (finding that
reputational ruin and end of the defendant’s professional career was “substantial and meaningful
punishment,” particularly where the defendant’s “emotional well-being has suffered as a result”);
United States v. Nesbeth, 188 F. Supp. 3d 179, 180 (E.D.N.Y. 2016) (imposing non-custodial
sentence and urging courts to consider the collateral consequences of felony convictions when
imposing sentence); United States v. Collins, 07 Cr. 1170 (LAP) (S.D.N.Y. Oct. 17, 2013), Doc.
244 at 32:22–33:1 (concluding that “a lengthy prison sentence is not necessary” to advance the
goals of section 3553(a)(2) “in light of the collateral consequences suffered” by the defendant);
see also, e.g., United States v. Vigil, 476 F. Supp. 2d 1231, 1315 (D.N.M. 2007) (granting
downward variance based in part on “incalculable damage” defendant suffered from
“tremendous media coverage of his case,” including that defendant “was unflatteringly portrayed
as the face of public corruption” and where defendant “and his family . . . endured the expense
and emotional cost of two very lengthy, public trials”), aff’d 523 F.3d 1258 (10th Cir. 2008).



45
     Ex. J, Ltr. from P. Fleischer.
46
     Ex. F, Ltr. from J. Davidson.


                                                   25
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 26 of 35 PageID #: 5299

United States v. Eric Goldstein
21 Cr. 550 (DC)
       These intangible punishments are in addition to the very real and significant restrictions
on Eric’s liberty that would be part of any non-carceral sentence the Court may impose. As the
Supreme Court has explained:

       Offenders on probation are nonetheless subject to several standard conditions that
       substantially restrict their liberty. See United States v. Knights, 534 U.S. 112, 119
       (2001) (“Inherent in the very nature of probation is that probationers do not enjoy
       the absolute liberty to which ever citizen is entitled.” (quoting Griffin v.
       Wisconsin, 483 U.S. 868, 874 (1987)). Probationers may not leave the judicial
       district, move, or change jobs without notifying, and in some cases receiving
       permission from, their probation officer or the court. They must report regularly
       to their officer, permit unannounced visits to their homes, refrain from associating
       with any person convicted of a felony, and refrain from excess drinking. U.S.S.G.
       §5B1.3. Most probationers are also subject to individual “special conditions”
       imposed by the court.

Gall v. United States, 552 U.S. 38, 48 (2007) (footnote omitted); see also United States v.
Brooks, 889 F.3d 95, 101 (2d Cir. 2018) (recognizing that “supervised release is itself a serious
sanction that imposes significant limitations on a defendant’s liberty”).

         A period of home detention would be an additional, significant punishment, particularly
for an individual like Eric, who prior to his arrest had never been subject to restrictions on his
liberty. Many courts, in various procedural postures, have recognized the “obvious psychological
and social impact” of home detention. See, e.g., United States v. Pennick, 10 Cr. 191 (RJA),
2016 WL 4089192, at *8 (W.D.N.Y. Aug. 2, 2016), aff’d, 713 F. App’x 33, 35 (2d Cir. 2017).
The mental and emotional impact of the “hugely restrictive regime of confinement, compliance,
intrusion and dependency” that is probation and home detention should not be underestimated.
United States v. Coughlin, 06 Cr. 20005 (RTD), 2008 WL 313099, at *5 (W.D. Ark. Feb. 1,
2008). With limited exceptions that would require the approval of the Probation Department,
Eric would be isolated in his home all day—unable to exercise more than a modicum of the
freedom he enjoyed for more than 55 years. See United States v. Minor, 440 F. App’x 479, 485–
86 (6th Cir. 2011) (noting that “[a] person under ‘home detention’ is subject to confinement and
supervision that restricts the defendant to his place of residence continuously, except for
authorized absences”).

       Importantly, however, a non-carceral sentence including a period of home detention
would allow Eric to continue to work and earn money to support his family at a time of dire
financial need. As discussed above and in the PSR, without Eric’s earned income, the family


                                                      ould be an unnecessary and overly
punitive additional punishment. Perhaps most importantly, receiving a period of home detention
instead of custody would allow Eric to continue to give the unique care and support for his son
that only he is able to provide.

                                Allowing Eric to continue to serve in this role—



                                                26
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 27 of 35 PageID #: 5300

United States v. Eric Goldstein
21 Cr. 550 (DC)
                                                                                         —is a
worthy goal of sentencing.

        As discussed in more detail below, a further imposition of community service would
require Eric to give back to his community in meaningful ways. Eric has already been
volunteering at the Food Bank of the Hudson Valley for several months as part of his
programming with the Aleph Institute. Mandating that he continue to do so as a condition of his
probation would incorporate this obligation as a further punishment in this case.

        If Eric were to unexpectedly fail to comply with any of these conditions, the Court could
re-sentence him up to the statutory maximum periods of incarceration. See 18 U.S.C. §
3565(a)(2).

        For these reasons, a sentence of probation, home detention, community service, and the
direct and collateral consequences of Eric’s public trial and felony conviction would reflect the
seriousness of the offense, promote respect for the law, and provide just punishment. See 18
U.S.C. § 3553(a)(2)(A).

       B.      The Proposed Sentence Would Afford More than Adequate Deterrence

              i.       Incarceration Would Not Provide Additional General Deterrence

         The significant punishment that would be imposed on Eric if he were subject to
probation, home detention, community service, and the myriad consequences of his trial and
felony conviction would also serve to promote deterrence of similar conduct. Courts in this
District have recognized that “general deterrence is accomplished” through probationary
sentences that involve strict monitoring conditions because such sentences “send a clear message
that any involvement in” unlawful conduct “will result, at the very least, in a substantial
restriction of freedom. United States v. Ilayayev, 800 F. Supp. 2d 417, 451 (E.D.N.Y. 2011).

        Social science data confirm that more severe sentences are not more effective at
promoting general deterrence—particularly in the context of “white collar” offenses. See M.
Tonry, Purposes and Functions of Sentencing, 34 CRIME AND JUSTICE: A REVIEW OF RESEARCH
28–29 (2006)(“[I]ncreases in severity of punishments do not yield significant (if any) marginal
deterrent effects. . . . Three National Academy of Science panels, all appointed by Republican
presidents, reached that conclusion, as has every major survey of the evidence.”). Although the
“punishment-generating activities of the criminal justice system” may produce some “baseline
deterrence effect,” there is no indication that deterrence is influenced by an increase or decrease
in punishment levels. G. Kleck et al., Deterrence and Macro-Level Perceptions of Punishment
Risks: Is There a “Collective Wisdom”?, 59 CRIME & DELINQUENCY 1006, 1032 (2013)

        Representative of the data on general deterrence are the results published by the Institute
of Criminology at Cambridge University. See A. von Hirsch et al., CRIMINAL DETERRENCE AND
SENTENCE SEVERITY: AN ANALYSIS OF RECENT RESEARCH (1999). The report, commissioned by
the British Home Office, examined research on penalties in the United States and several
European countries and specifically the effects of changes to both the certainty and the severity



                                                 27
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 28 of 35 PageID #: 5301

United States v. Eric Goldstein
21 Cr. 550 (DC)
of punishment. Although the report found correlations between the certainty of punishment and
crime rates, the “correlations between sentence severity and crime rates . . . were not sufficient to
achieve statistical significance.” Id. at 2. The report concluded that “the studies reviewed do not
provide a basis for inferring that increasing the severity of sentences generally is capable of
enhancing deterrent effects.” Id. at 1; see also R. Paternoster, How Much Do We Really Know
about Criminal Deterrence, 100 J. CRIM. L. & CRIMINOLOGY 765, 818 (2010) (noting that there
is “no real evidence of a deterrent effect for severity”).

       For these reasons, a more severe sentence including a period of incarceration would be
unnecessary and would not further advance the general deterrence goals of section
3553(a)(2)(B).

             ii.       Incarceration Is Unnecessary To Instill Specific Deterrence

         A period of incarceration is entirely unnecessary to specifically deter Eric from unlawful
conduct. By the time of his arrest, Eric was no longer in a position in government. His public
arrest, trial, conviction, and shaming ensure that he will never again be in a position of authority.
Eric’s career in public service has been destroyed. And as Eric can attest, the grueling criminal
justice process itself (and the financial, emotional, and personal strains it places on defendants
and their families) produces significant specific deterrence—he will never engage in conduct that
could even be perceived as unlawful. See, e.g., Adelson, 441 F. Supp. 2d at 514 (“With his
reputation ruined by his conviction, it was extremely unlikely that he would ever involve himself
in future misconduct.”); United States v. Gaind, 829 F. Supp. 669, 671 (S.D.N.Y. 1993)
(granting downward departure because “the destruction of the defendant’s business has already
achieved to a significant extent some although not all of the objectives otherwise required to be
sought through the sentencing process”). Given his admirable qualities and lifetime of law-
abiding behavior, a term of incarceration is unnecessary in this case to advance the specific
deterrence goals of section 3553(a)(2)(B). See, e.g., United States v. Ortega, 09 Cr. 742 (JWB),
2010 WL 2541364, at *2 (E.D.N.Y. June 17, 2010) (“In light of the defendant’s good character,
specific deterrence is not a major concern.”).

        Again, the social science data confirm that a period of incarceration would not further
specific deterrence. In an extensive study of white-collar offenders (presumably among the most
rational of sentenced defendants), no difference in deterrent effects was found as a result of
increased sentence severity, including between probation and imprisonment. See D. Weisburd et
al., Specific Deterrence in a Sample of Offenders Convicted of White Collar Crimes, 33
CRIMINOLOGY 587 (1995); see also Z. Gabbay, Exploring the Limits of the Restorative Justice
Paradigm: Restorative Justice and White-Collar Crime, 8 CARDOZO J. CONFLICT RESOL. 421,
448–49 (2007) (“[T]here is no decisive evidence to support the conclusion that harsh sentences
actually have a general and specific deterrent effect on potential white-collar offenders.”).

       C.      Incarceration Is Unnecessary To Protect the Public

        The same factors and social science data support the conclusion that Eric presents no risk
of recidivism and that a period of incarceration is unnecessary to “protect the public from further
crimes of the defendant.” 18 U.S.C. § 3553(a)(2)(C).



                                                 28
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 29 of 35 PageID #: 5302

United States v. Eric Goldstein
21 Cr. 550 (DC)


                  i.   As A First-Time, Non-Violent Offender
                       Eric Presents No Risk of Recidivism

        As the Sentencing Commission and the policies behind the Sentencing Guidelines make
clear, “first offenders are less culpable and less likely to re-offend.” U.S. Sent’g Comm’n,
Recidivism and the “First Offender,” at 1, 9 (2004); 47 see U.S.S.G. § 4A1.1, Introductory
Comment. Accordingly, as the Sentence Commission has written, “they are deserving of reduced
punishment.” Recidivism and the “First Offender,” supra at 1; see also 28 U.S.C. § 994(j).

        Sentencing Commission data corroborate this philosophy. Multiple Sentencing
Commission studies have proven that first offenders, like Eric, with zero criminal history points
are in a wholly unique category of defendants for sentencing purposes—one that is least in need
of incarceration to prevent rearrest or reconviction. A 2004 study concluded that “offenders with
zero criminal history points have a primary recidivism rate of 11.7 percent . . . substantially
lower than the recidivism rates for offenders with only one criminal history point.” Recidivism
and the “First Offender,” supra at 13. Follow-up studies in 2017 and 2021 confirmed that
offenders with zero criminal history points continue to have by far the lowest rates of recidivism,
whether measured by rearrest, reconviction, or reincarceration. See U.S. Sent’g Comm’n,
Recidivism of Federal Offenders Released in 2010, at 26 (2021); 48 U.S. Sent’g Comm’n, The
Past Predicts the Future: Criminal History and Recidivism of Federal Offenders, at 6–7 (March
2017). 49

        The risk of recidivism for first offenders is even lower when one considers those first
offenders, like Eric, who have never been arrested before. The Sentencing Commission has
explained that “[f]rom both culpability and recidivism risk perspectives . . . offenders with no
prior arrests most strongly meet the conceptual definition of the first offender[,]” and with “their
extremely low recidivism rate of 6.8 percent, they are easily the most empirically identifiable
group of guideline federal offenders who are the least likely to re-offend.” Recidivism and the
“First Offender,” supra at 17. Even this 6.8% “recidivism” rate overstates the risk of
reoffending by first time offenders with no previous arrests. Sentencing Commission data
showed that “the re-conviction rate” of such offenders was only 2.5 percent. Id. at 14 n.28.

            ii.        Sentencing Commission Data Confirm
                       that Eric Presents the Lowest Risk of Recidivism

       Eric’s already minimal risk of recidivism is reduced even further once his other
characteristics are incorporated into the evaluation. Multiple studies by the Sentencing

47
     https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
     publications/2004/200405_Recidivism_First_Offender.pdf
48
     https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
     publications/2021/20210930_Recidivism.pdf
49
     https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
     publications/2017/20170309_Recidivism-CH.pdf


                                                 29
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 30 of 35 PageID #: 5303

United States v. Eric Goldstein
21 Cr. 550 (DC)
Commission have concluded that “[o]lder offenders [are] substantially less likely than younger
offenders to recidivate.” U.S. Sent’g Comm’n, The Effects of Aging on Recidivism Among
Federal Offenders, at 3 (2017); 50 see also Recidivism of Federal Offenders Released in 2010,
supra at 24. The Sentencing Commission has explained that “[a]ge and criminal history are
consistently strong predictors of recidivism,” and that “[t]he combined impact of age and
criminal history on recidivism is more pronounced.” Recidivism of Federal Offenders Released
in 2010, supra at 29. The data bear this out, with multiple Sentencing Commission reports
concluding that older defendants with no prior arrests are by far the least likely to reoffend. Id.

       Each of Eric’s other demographic characteristics further buttresses the conclusion that he
presents the lowest possible risk of reoffending. Eric is and has been gainfully employed (or in
graduate school) his entire adult life. He is more than 50 years old, a college graduate, previously
married with strong familial ties, and has no substance abuse issues. Sentencing Commission
data make clear that each such characteristic—let alone all in combination with his lack of
criminal history—make Eric particularly unlikely to reoffend. See U.S. Sent’g Comm’n,
Measuring Recidivism: The Criminal History Computation of the Federal Sentencing
Guidelines, at 12–13 (May 2004); 51 The Effects of Aging on Recidivism Among Federal
Offenders, supra at 3; Recidivism of Federal Offenders Released in 2010, supra at 31.

        Even the type of offense for which Eric was convicted shows that he presents the lowest
possible risk of recidivism. The Sentencing Commission has noted that among the categories of
federal offenses, “offenders sentenced for fraud” presented “the lowest rearrest rate.” Recidivism
of Federal Offenders Released in 2010, supra at 5. Again, once Eric’s age is factored in, the risk
of recidivism is reduced even further. Sentencing Commission data confirm that fraud-related
defendants who are more than 50 years old present nearly the lowest risk of recidivism in terms
of rearrest, reincarceration, and reconviction. The Effects of Aging on Recidivism Among Federal
Offenders, supra at 23.

         In light of the reduced culpability and risk of recidivism that older first offenders present,
courts frequently impose downwardly variant sentences on defendants with no criminal history.
See, e.g., United States v. Autery, 555 F.3d 864, 874 (9th Cir. 2009) (reasoning that because
“Criminal History I did not fully account for [the defendant’s] complete lack of criminal history,
considering it as a mitigating factor was not redundant or improper”); United States v.
Thompson, 19 Cr. 698 (ER) (S.D.N.Y. Feb. 4, 2021), Doc. 55 at 30:23–31:5 (imposing a non-
carceral sentence and noting, inter alia, “that this is Mr. Thompson’s first offense, he has never
been arrested before, it is a nonviolent offense, and we ought to give some level of leniency to
first offenders. And while, certainly, Mr. Thompson is not an old man . . . he is not a young man,
and studies have shown that it is unlikely that someone in his age group, with no criminal history
whatsoever, is likely to recidivate.”).



50
     https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
     publications/2017/20171207_Recidivism-Age.pdf
51
     https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
     publications/2004/200405_Recidivism_Criminal_History.pdf


                                                  30
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 31 of 35 PageID #: 5304

United States v. Eric Goldstein
21 Cr. 550 (DC)
        For all these reasons, a period of incarceration is unwarranted and unnecessary under
section 3553(a)(2).

IV.      A Non-Carceral Sentence Would Be Warranted under Section 3553(a)(3)

        Section 3553(a)(3) instructs the Court to consider “the kinds of sentences available,”
which—for the Class C and D felonies for which Eric has been convicted—includes probation,
home detention, and community service. See 18 U.S.C. § 3561(a)(1). Such a sentence would be
particularly appropriate for this individual, in this case.

         The Office of Probation and Pretrial Services of the Administrative Office of the United
States Courts has described community service as “a flexible, personalized, and humane
sanction, a way for the offender to repay or restore the community. It is practical, cost-effective,
and fair—a ‘win-win’ proposition for everyone involved.” Office of Probation and Pretrial
Servs., Admin. Office of the U.S. Courts, Court & Community: An Information Series About US.
Probation & Pretrial Services: Community Service, at 2 (2007). 52 It recognized that
“[c]ommunity service addresses the traditional sentencing goals of punishment, reparation,
restitution, and rehabilitation. . . . It restricts offenders’ personal liberty[,] . . . allows offenders to
atone[, and] . . . may be regarded as . . . a form of symbolic restitution when the community is
the victim.” Id. In selecting candidates for community service, Probation advises that while
“[n]ot every offender is a good candidate for community service . . . . [c]ourts look for offenders
with personal and social stability, who are willing, motivated, and who have no history of
violence.” Id.

      Sentencing judges have recognized that community service can serve as a significant
punishment. In a fraud case in this District, then-Judge (and now Sentencing Commissioner)
Gleeson spoke powerfully about the value of community service as a sanction:

         The prospect of a sentence that does not include incarceration, which is explicit in
         the papers submitted by your lawyers, is a daunting one for no other reason than it
         might fail to promote respect for the law which is one of the things a sentence
         must do for someone who participated so integrally in a fraud from, as far as your
         piece of it is concerned, cost financial institutions, what, $110 million? [. . .]

         In fact, you know, one might say how could, no matter how essential you were to
         the prosecution of the more culpable participants in this crime, how do you justify
         an intelligent, accomplished businessman such as yourself committing this type of
         crime and not being sent to jail, not being, having the punishment include that
         type of condemnation, the most significant form of condemnation a sentencing
         judge in a financial crime can mete out?

         But nothing should ever be out of bounds and I’ve struggled with your lawyer’s
         request, struggled with it throughout the presentations I’ve heard here, and I
         conclude that a sentence that doesn’t include incarceration is appropriate here.

52
      Available at https://www.miep.uscourts.gov/downloads/CourtCommunity.pdf.


                                                    31
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 32 of 35 PageID #: 5305

United States v. Eric Goldstein
21 Cr. 550 (DC)
           Alternatives to incarceration exist that can carry both the community and this
           Court’s condemnation of your conduct but channel it in a way that’s more
           constructive, given your significant charitable works and contributions before this
           case, given the extraordinary timing of your cooperation and its nature, given your
           age and your physical circumstances. I don’t think the goals of sentencing here
           require you to be incarcerated.

           I am placing you on probation for a period of five years. One special condition of
           probation would be that you be in home detention for a period of six months.

           Another is that you perform 500 hours of community service. It strikes me that
           you can do some good in your community. You already have. It seems to me you
           deserve it. The combination of circumstances in your case makes you worthy of
           serving your punishment in a manner that’s a little more constructive than going
           to jail. 53

        Eric’s accomplished career, his dedication to his loved ones, family, friends, and
colleagues, and his deep ties and positive contributions to his community all serve to make him
an ideal candidate for community service as part of his sentence. Eric is a first-time, non-violent
offender with a history of public service and helping others. He has already been performing
community service at the Food Bank of the Hudson Valley. See Ex. Z, Ltr. from Rabbi Bryski;
PSR ¶ 141. Continuing this structured, purposeful community service would more appropriately
advance the interests of justice than unnecessary incarceration would.

        In addition, for the past year, Eric has been participating in restorative justice
programming through the Aleph Institute, a non-profit, pro bono organization rooted in the
Jewish faith and its moral and ethical teachings, which has worked for decades to promote
alternative criminal sentencing in appropriate cases. 54 As Rabbi Yossi Bryski of the Aleph
Institute writes to the Court:

           We advocate for alternative sentences for individuals in whom we detect a deep
           sincerity and a genuine commitment to achieve meaningful personal growth.
           Further, we only advocate on behalf of individuals who have passed our rigorous
           screening process and programming regimen, and we do not advocate for any
           individual unless we are confident that they do not pose a future threat to
           society. 55

       Since September 2023, Eric has been working closing with Aleph on a multifaceted
regimen of spiritual counseling; weekly group sessions with other criminal justice involved
individuals, which addresses participants’ prior behavior and sentencing, deterrence, and

53
     Ex. Z. Sent. Tr. 10–12, United States v. Shamilzadeh, 04 Cr. 1094 (JG) (E.D.N.Y. Apr. 1,
     2008).
54
     See Ex. Y, Ltr. from Rabbi Y. Bryski.
55
     Id.


                                                   32
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 33 of 35 PageID #: 5306

United States v. Eric Goldstein
21 Cr. 550 (DC)
rehabilitation through the lens of Jewish history and teachings; and community service. 56 Rabbi
Bryski writes, “We have been impressed by Eric’s progress and his commitment to diligently
pursuing a path of self-improvement.” 57

        In light of Eric’s fundamentally good character, his deep commitment to self-
improvement and restoration, and his success in the Aleph program to date, and to avoid the
devastating effects that any period of incarceration would have on his family, Rabbi Bryski and
the Aleph team recommend that Eric be ordered to continue with his Aleph programming, which
he could participate in remotely while on any period of home detention. 58 As Rabbi Bryski
writes, “We believe that Eric, his family, and his community would be better served by a
sentence consisting of a program of community service, spiritual counseling, therapy, and
possibly home detention, in lieu of incarceration. Our alternative sentencing proposal would
allow Eric to continue his path of growth, while also allowing him to continue to provide crucial
support for his vulnerable family.” 59

V.         A Non-Carceral Sentence Would Not Create Unwarranted Sentencing Disparities

       A sentence of probation, home detention, and community service would also be
consistent with the sentences imposed on defendants convicted of similar offenses, and would
thus not create “unwarranted sentence disparities among defendants with similar records who
have been found guilty of similar conduct.” 18 U.S.C. § 3553(a)(6).

        Within the Second Circuit, in Fiscal Year 2023, the mean and median sentences for
defendants convicted of “bribery/corruption” offenses were 15 and 12 months’ incarceration,
respectively. 60 For defendants convicted of such offenses in the Eastern District of New York,
the mean and median sentences were 13 and 12 months’ incarceration, respectively. 61 The data
are consistent for 2022, with mean and median sentences for “bribery/corruption” offenses in the
Second Circuit of 11 and 6 months, respectively. 62 In 2022 in the Eastern District of New York,


56
     Id.
57
     Id.
58
     Id.
59
     Id.
60
     See U.S. Sent’g Comm’n, Statistical Information Packet: Fiscal Year 2023 (Second Circuit),
     Tbl. 7, “Sentence Length by Type of Crime,”
     https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-sentencing-
     statistics/state-district-circuit/2023/2c23.pdf.
61
     See U.S. Sent’g Comm’n, Statistical Information Packet: Fiscal Year 2023 (Eastern District
     of New York), Tbl. 7, “Sentence Length by Type of Crime,”
     https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-sentencing-
     statistics/state-district-circuit/2023/nye23.pdf.
62
     See U.S. Sent’g Comm’n, Statistical Information Packet: Fiscal Year 2022 (Second Circuit),
     Tbl. 7, “Sentence Length by Type of Crime,”


                                               33
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 34 of 35 PageID #: 5307

United States v. Eric Goldstein
21 Cr. 550 (DC)
out of 27 cases with convictions for “bribery/corruption” offenses, the mean sentence was 9
months’ incarceration, with the median sentence being 0 months’ imprisonment. 63 A sentence of
probation, home detention, and community service would be well within the range of
comparable sentences, particularly when Eric’s unique personal situation and the mitigating
circumstances of the offense conduct are taken into consideration.

        Nor would such a sentence be an aberration. For example, in United States v. Rioux, 97
F.3d 648 (2d Cir. 1996), an elected Sheriff extorted money from Deputy Sheriffs by threatening
to suspend or terminate those who did not pay money towards the Hartford County Association
of Deputy and Special Deputy Sheriffs, which the Sheriff used to pay for his personal dues at an
expensive country club; travel expenses for himself and his wife; restaurant expenses; Christmas
parties; and personal charitable expenses. See id. at 653. The Sheriff was convicted after trial of
mail fraud and violating the Travel Act. Id. Despite a Guidelines range of 33–41 months’
imprisonment, the Second Circuit affirmed the district court’s downward departure and
imposition of a sentence of three months’ probation, six months’ house arrest, and 500 hours of
community service, upholding the district court’s determination that the case “differed
significantly from the heartland of guideline cases” in light of, inter alia, “Rioux’s medical
condition and charitable and civic good deeds.” Id. at 663.

         Similarly, in United States v. Samson, 16 Cr. 334 (JLL) (D.N.J. March 7, 2017), the
defendant was sentenced to four years of probation, one year of home detention, and 3,600 hours
of community service for his conviction for violating 18 U.S.C. § 666(a)(l)(B) by using his
power as the Chairman of the Port Authority of New York and New Jersey to block the
PANYNJ’s approval of a lease for United Airlines at Newark International Airport until the
airline reinstituted service that allowed him to fly non-stop from Newark to his second home in
South Carolina. In reaching this sentence, the Court considered the defendant’s years of public
service and his compromised medical condition as mitigating factors.

        While no two cases are exactly alike, the cited statistics and cases make clear that here a
probationary sentence with a term of home detention and a significant period of community
service would not create “unwarranted” sentencing disparities with similarly situated defendants.

VI.      The Government Does Not Seek Forfeiture or Restitution
         and A Fine Should Not Be Imposed

        The government has not requested forfeiture or restitution. Should the government claim
that any property or assets are allegedly subject to forfeiture or restitution, we respectfully
reserve the right to respond.


      https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-sentencing-
      statistics/state-district-circuit/2022/2c22.pdf.
63
      See U.S. Sent’g Comm’n, Statistical Information Packet: Fiscal Year 2022 (Eastern District
      of New York), Tbl. 7, “Sentence Length by Type of Crime,”
      https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-sentencing-
      statistics/state-district-circuit/2022/nye22.pdf.


                                                 34
Case 1:21-cr-00550-DC Document 207 Filed 08/03/24 Page 35 of 35 PageID #: 5308

United States v. Eric Goldstein
21 Cr. 550 (DC)
        Finally, as the Probation Department notes in the PSR, given Eric’s severely compromised
financial state                                         , Eric would be unable to pay any fine.
(PSR ¶ 147.) Because a fine would advance no legitimate purpose of sentencing and would
severely impact his already struggling family, the Court should not impose a fine. See 18 U.S.C. §
3572(a).

VII.   Conclusion

        Eric Goldstein stands before the Court deeply humbled and terrified for his family’s
future. He understands that the Court must impose a sentence consistent with the law and he
remains hopeful that, given his fundamentally good character, the unique context of this case,
and the years of public service he dedicated to uplifting New York City’s public schoolchildren,
the Court will show him mercy and impose a sentence that allows him to continue to provide for
and support his vulnerable family.

         We join him in this request and respectfully urge the Court to impose a non-carceral—but
still substantial—sentence that accounts for all of the good that Eric Goldstein has done and
continues to do to this day. We thank the Court for its consideration of this submission.

                                             Respectfully submitted,
                                             /s/
                                             Kannan Sundaram
                                             Neil P. Kelly
                                             Assistant Federal Defenders
                                             (718) 330-1203 / (212) 417-8744

                                             Counsel for Eric Goldstein

Enclosures

cc:    Counsel of record




                                                   35
